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Hon. Laura Taylor Swain                             U.S. Department of Justice
July 29, 2024
Page 1                                              United States Attorney
                                                    Southern District of New York
                                                    The Silvio J. Mollo Building
                                                    One Saint Andrew’s Plaza
                                                    New York, New York 10007



                                                    July 29, 2024

BY ECF

The Honorable Laura Taylor Swain
United States Chief District Judge
Southern District of New York
500 Pearl Street
New York, New York 10007
(212) 805-0426


                     Re:     United States v. Gery Shalon,
                             15 Cr. 333 (LTS) and 17 Cr. 254 (LTS)

Dear Chief Judge Swain:

        The Government and defense counsel have been conferring regarding a joint response
directed by the Court’s Order dated July 19, 2024 (ECF No. 302). The Government anticipates
submitting a request to partially unseal the Government’s sentencing submission related to
defendant Gery Shalon, with appropriate continuing redactions. Defense counsel is reviewing
the proposed redactions and potential portions to be unsealed, and has requested an extension
until this Friday, August 2, 2024 to confer with the defendant and complete the process
necessary to file the joint response. The Government joins the request.


                                                    Respectfully submitted,

                                                    DAMIAN WILLIAMS
                                                    United States Attorney


                                              By:          /s/ Vladislav Vainberg
                                                    Vladislav Vainberg
                                                    Noah Solowieczyk
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